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                        EXHIBIT A
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                                                                         U.S. Department of Homeland Security
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                                                                         Homeland
                                                                         Security
                                         January 20, 2025

MEMORANDUM FOR:               Caleb Vitello
                              Acting Director
                              U.S. Immigration and Customs Enforcement

                              Pete R. Flores
                              Senior Official Performing the Duties of the Commissioner
                              U.S. Customs and Border Protection


                              Jennifer B. Higgins
                              Acting Director
                              U.S. Citizenship and Immigration Sepd^

FROM:                         Benjamine C. Huffman
                              Acting Secretary

SUBJECT;                      Exercising Appropriate Dfscretidh Under Parole Authority


Congress granted to the U.S. Department of Homeland Security(DHS)authority to parole certain
otherwise inadmissible aliens into the United States when, in the discretion of the Secretary of
DHS, doing so either provides a significant public benefit to the American public or permits the
United States to respond to an urgent humanitarian need.

Authority to grant parole is discretionary and may be exercised only on a case-by-case basis by
immigration officers in the employ of DHS. When in the opinion of the Secretary ofDHS the
purposes of an alien's parole have been served, the alien must be returned to the custody of DHS
and the alien's case must be dealt with in the same manner as any other case for admission to the
United States involving an alien found inadmissible.

The Secretary of DHS's parole authority is set forth in 8 U.S.C. § 1182(d)(5). The statutory
language and context make it abundantly clear that it is a limited use authority, applicable only in
a very narrow set of circumstances. Congress retained its authority to legislatively determine
which categories of aliens are admissible or inadmissible to the United States, while
simultaneously providing DHS with the operational flexibility to deal with extraordinary
situations including, but not limited to: inadmissible aliens with emergency medical conditions
and the temporary entry of otherwise inadmissible aliens coming to the United States whose
presence is required in legal proceedings as a defendant or witness.

Although parole is a discretionary authority to be exercised in narrow circumstances and only on
a case-by-case basis, it has been repeatedly abused by the Executive Branch over the past several

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decades in ways that are blatantly inconsistent with the statute. Most important, the parole statute
does not authorize categorical parole programs that make aliens presumptively eligible on the
basis ofsome set of broadly applicable criteria.

Furthermore,8 U.S.C. § 1182(d)(5)(B)limits the circumstances under which an alien who is a
refugee as defined in 8 U.S.C. § 1101(a)(42) may be paroled into the United States. This means
it is generally unlawful to parole into the United States aliens with pending applications for
refugee status filed abroad, and aliens found to have primafacie asylum claims who are being
allowed into the United States to await adjudication ofthose claims. The sole exception to this
bar is when the Secretary ofDHS determines that compelling reasons in the public interest with
respect to that particular alien require that the alien be paroled into the United States rather than
admitted as a refugee.

It is evident that many current DHS policies and practices governing parole are inconsistent with
the statute.


Therefore, I order the following:
   (1) Within sixty (60)days ofthe date ofthis order, the Director of U.S. Immigration and
        Customs Enforcement; the Commissioner of U.S. Customs and Border Protection; and
        the Director of U.S. Citizenship and Immigration Services are directed to:
        a. Compile a list of all instructions, policies, procedures, rules, and regulations
            pertaining to parole;
        b. Review all such instructions, policies, procedures, rules, and regulations and
            determine, in consultation with the DHS General Counsel, which are not strictly in
            accord with the text and structure of8 U.S.C. § 1182(d)(5);
        c. Formulate a plan for phasing out any such instructions, policies, procedures, rules,
            and regulations, accompanied by a proposal and timeline for any necessary public
            notices to be published pursuant to the terms ofthe Administrative Procedure Act or
            any other applicable law;
        d. Provide the Secretary of DHS with a report summarizing the results ofthe following
            reviews and inquiries.

   (2) Pending the review contemplated by paragraph (1), DHS Components have discretion to
       pause, modify, or terminate any parole program described in paragraph(1)to the extent:
       a. The policy was not promulgated pursuant to the procedural requirements of the
          Administrative Procedure Act or any comparable scheme;
       b. The DHS Component can do so in a manner that protects any legitimate reliance
               interests; and
        c. Doing so is otherwise consistent with applicable statutes, regulations, and court
               orders.

The purpose ofthis memorandum is to ensure that all future actions taken by DHS with regard to
the exercise ofthe parole authority are consistent with law and within the scope of DHS's
authority..Having said that, should any court disagree with the interpretation ofthe parole statute
articulated in this memorandum,I clarify that 1 am also implementing this policy as a matter of
my discretion to deny parole in any circumstance.
